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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




 Timothy King, et al.,

                                    Plaintiff(s),
 v.                                                     Case No. 2:20−cv−13134−LVP−RSW
                                                        Hon. Linda V. Parker
 Gretchen Whitmer, et al.,

                                    Defendant(s),



                                ORDER REQUIRING RESPONSE

      The following document has been filed:

                Motion − #92
    IT IS HEREBY ORDERED that Robert Davis shall file a response to the above document
 on or before February 5, 2021. The response shall be filed in accordance with E.D. Mich. L.R.
 7.1.




                                                    s/Linda V. Parker
                                                    Linda V. Parker
                                                    U.S. District Judge



                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                By: s/R Loury
                                                    Case Manager

 Dated: January 25, 2021
